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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


UBIQUITI INC.,

                                     Plaintiff,

       v.                                                          Civil No.: 20-CV-1312
PERASO TECHNOLOGIES INC., WILLIAM A.
McLEAN, WILLIAM JAMES WHITAKER, SHAWN
ABBOTT, DAVID ADDERLEY, IMED ZINE and
RIADH ZINE,

                                     Defendants.


            NOTICE OF CHAPTER 15 BANKRUPTCY PROCEEDING
IN THE SOUTHERN DISTRICT OF NEW YORK AND INTERIM STAY RELATED TO
        A RECOGNITION PROCEEDING FOR RESTRUCTURING UNDER
          CANADA’S COMPANIES’ CREDITORS ARRANGEMENT ACT

              PLEASE TAKE NOTICE THAT:

              This action is the subject of a stay as issued by the Honorable Sean H. Lane of the

United States Bankruptcy Court, Southern District of New York as detailed below.

              Peraso Technologies Inc. (“Peraso”) is the subject of a petition for recognition of

a foreign proceeding under Chapter 15 of the Bankruptcy Code in the United States Bankruptcy

Court for the Southern District of New York. The Verified Petition for Recognition of Foreign

Proceeding and Related Relief, 20-11354-shl (the “Chapter 15 Petition”) was brought by Ernst &

Young as Monitor, and is attached as Exhibit A.

              Peraso’s underlying application for relief giving rise to the Chapter 15 Petition

was made pursuant to the Companies’ Creditors Arrangement Act and was filed with the Ontario

Superior Court of Justice on June 3, 2020. A copy of the Initial Order issued by the Ontario

Superior Court of Justice, appointing Ernst & Young as Monitor of Peraso’s affairs and staying
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all proceedings against Peraso and its former, current, or future directors and officers, is attached

as Exhibit B. See Ex. B, ¶ 15, 19.

                      In an Emergency Motion for Preliminary Relief (the “Motion”) before Judge

Lane, the Monitor sought to enforce the terms of the Initial Order in the United States and sought

an interim stay of this action until such time as proceedings on its Petition for Recognition were

complete. Ubiquiti Inc. contested the Motion. Counsel for the Monitor, Peraso and Ubiquiti Inc.

were present before the Court on the motion on June 8, 2020.

                      On June 8, 2020, Judge Lane granted the Motion and an interim stay of this action

as to all Defendants on the record. When the written order issues, counsel will file with this

Court.



Dated: June 10, 2020


                                                          Respectfully,



                                                                   s/Jodyann Galvin
                                                          Jodyann Galvin
                                                          HODGSON RUSS LLP
                                                          Attorneys for Defendants Peraso
                                                          Technologies Inc., William A. McLean,
                                                          William James Whitaker, David Adderley,
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